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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF MASSACHUSETTS

In re: Chapter 7, No. 23-40709
WESTBOROUGH SPE LLC

Debtor

TRUSTEE’S OPPOSITION TO LOLONYON AKOUETE’S
MOTION TO ALLOW CLAIM (DOCKET NO. 214)

NOW comes JONATHAN R. GOLDSMITH, Chapter 7Trustee of Westborough SPE,
LLC (“Trustee”) and hereby Opposes the Motion to Allow Claim. In particular, the Trustee
submits that there is currently pending a Motion of Chapter 7 Trustee for Approval of Settlement
Agreement (“Settlement”) (Docket No. 190) which is intended to resolve, inter alia, the Motion
of the Town of Westborough seeking dismissal of the bankruptcy case. Upon approval of the
Settlement, the Trustee avers that at that time he will be in a better position to address any issues

regarding the validity of any claims filed in the case, including the claim of Lolonyon Akouete.

WHEREFORE, the Trustee respectfully requests that the Motion of Lolonyon Akouete for

allowance of his claim be denied.

JONATHAN R. GOLDSMITH, TRUSTEE IN
BANKRUPTCY FOR WESTBOROUGH SPE
LLC

Dated: & \a\ ey

By: /s/Jonathan R. Goldsmith, Esq.
JONATHAN R. GOLDSMITH, ESQ.
(BBO No. 548285)

GOLDSMITH, KATZ & ARGENIO, P.C.
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FOR THE DISTRICT OF MASSACHUSETTS

In re: Chapter 7, No. 23-40709
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CERTIFICATE OF SERVICE

I, JONATHAN R. GOLDSMITH, ESQ., of GOLDSMITH, KATZ & ARGENIO, P.C.,
1350 Main Street, 15th Floor, Springfield, MA 01103, do hereby certify that I served a copy of
the within Objection upon those parties listed on the attached Exhibit “A” by electronic mail or

by mailing, first class mail, postage prepaid, on this qth day of August, 2024:

/s/ Jonathan R. Goldsmith, Esq.
JONATHAN R. GOLDSMITH, ESQ.

Case 23-40709

The MobileStreet Trust
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Allen Hight

The MobileStreet Trust
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